     Case: 2:21-cv-00072-DLB-CJS Doc #: 52-3 Filed: 12/11/23 Page: 1 of 3 - Page ID#: 417

                                               COMMONWEALTH VS. CUNDIFF, JEFFERY
                                                CAMPBELL CIRCUIT COURT
                                                Filed on 10/11/2018 as CIRCUIT CRIMINAL with HON. DANIEL J. ZALLA
                                                Disposition on 12/11/2018 by HON. DANIEL J. ZALLA
                    18-CR-00602
                                                **** NOT AN OFFICIAL COURT RECORD ****


    Parties                                                                                                         18-CR-00602

      CUNDIFF, JEFFERY as DEFENDANT / RESPONDENT
       DOB: 10/07/1986 DLN: C04060040 OPERATOR'S LICENSE - KENTUCKY Race: W Sex: M Hispanic: N

       Bail Bonds
            CASH for $20,000.00 set on 08/17/2018

       Address
            4609 EUREKA ST.
            COVINGTON KY 41015

       Summons
            CRIMINAL SUMMONS issued on 10/11/2018 for 10/30/2018 11:30 AM in room C2 served / recalled on 10/12/2018 by
            way of PERSONAL SERVICE
            CCS @ CCDC


      KUNKEL, PAUL *NPD 203*, as COMPLAINING WITNESS

       Address
            NEWPORT POLICE DEPT
            998 MONMOUTH ST
            NEWPORT KY 41071


      BURNS, KYLE, as COMMONWEALTH'S ATTORNEY

       Address
            601 WASHINGTON AVE
            SUITE 210
            NEWPORT KY 41071


      LYNN, JONATHAN as ATTORNEY-PUBLIC ADVOCATE

       Address
            601 WASHINGTON AVE
            SUITE 300
            NEWPORT KY 41071



    Charges                                                                                                         18-CR-00602

      *OBS* RECEIVING STOLEN PROPERTY U/$10,000 - 514.110
        CHARGE 1 ORIGINAL 0280320
        Charged on 10/11/2018 by citation 8N1205742-1

        GUILTY Disposition on 12/11/2018 by NO TRIAL
        Sentenced on 12/11/2018
        PRISON: 2 yrs 6 mos
        CONCURRENT - W/CTS 2 - 4, CTS
        CONSECUTIVE - TO BACKUP TIME IF EXISTS, INCL BOONE CO 12-CR-201

      TAMPERING WITH PHYSICAL EVIDENCE - 524.100
        CHARGE 2 ORIGINAL 0502300
        Charged on 10/11/2018 by citation 8N1205742-2

        GUILTY Disposition on 12/11/2018 by NO TRIAL
        Sentenced on 12/11/2018
        PRISON: 2 yrs 6 mos
        CONCURRENT




                                                                                                         EXHIBIT 3
12/7/2023                                                      84997-7                                                            1
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      DRUG PARAPHERNALIA - BUY/POSSESS - 218A.500(2)
        CHARGE 3 ORIGINAL 0420810
        Charged on 10/11/2018 by citation 8N1205742-3

        GUILTY Disposition on 12/11/2018 by NO TRIAL
        Sentenced on 12/11/2018
        JAIL: 12 mos
        CONCURRENT

      POSS CONT SUB, 1ST DEGREE, 1ST OFFENSE - DRUG UNSPECIFIED - 218A.1415
        CHARGE 4 ORIGINAL 0422010
        Charged on 12/11/2018 by citation NA

        GUILTY Disposition on 12/11/2018 by NO TRIAL
        FENTANYL
        Sentenced on 12/11/2018
        PRISON: 2 yrs 6 mos
        CONCURRENT


    Documents                                                                                      18-CR-00602

      DISTRICT COURT FILE filed on 10/11/2018

      INDICTMENT filed on 10/11/2018

      ENTRY OF APPEARANCE filed on 10/18/2018
        JONATHAN W. LYNN

      RESPONSE TO MOTION FOR BILL OF PARTICULARS/DISCOVERY filed on 10/18/2018
        AND MOTION FOR RECIPROCAL DISCOVERY

      SUPPLEMENTAL FILING filed on 10/29/2018
        AMENDED CA SUPPLEMENTAL RESPONSE TO DEF MOTION FOR DISCOVERY

      SUPPLEMENTAL FILING filed on 10/29/2018
        AMENDED CA SUPPLEMENTAL RESPONSE TO DEF MOTION FOR DISCOVERY

      ORDER OF ARRAIGNMENT - NOT GUILTY PLEA entered on 11/06/2018
        PTC 12/04/18 @ 8:30 AM

      JUDGMENT / SENTENCE - PLEA OF GUILTY entered on 12/11/2018
        & ARRAIGNMENT W/WAIVER OF PSI

      INFORMATION filed on 12/11/2018

      COMMONWEALTH OFFER ON A PLEA OF GUILTY filed on 12/11/2018

      WAIVER OF PRE-SENTENCE REPORT filed on 12/11/2018


    Events                                                                                         18-CR-00602

      PRETRIAL CONFERENCE scheduled for 12/04/2018 08:30 AM in room C2 with HON. DANIEL J. ZALLA

      ARRAIGNMENT scheduled for 10/30/2018 11:30 AM in room C2 with HON. DANIEL J. ZALLA

            Motions
             • MOTION FOR DISCOVERY AND INSPECTION filed on 10/18/2018 by APA
             & TO REVIEW BOND


      MOTION NOT REQUIRING HEARING in room ****** with HON. DANIEL J. ZALLA

            Motions
             • MOTION TO ENTER GUILTY PLEA filed on 12/11/2018 by APA



    Case Cross Reference                                                                           18-CR-00602

      GRAND JURY cross reference on 10/11/2018 to CIRCUIT 18-F-00591


    Images                                                                                         18-CR-00602

       ENTRY OF APPEARANCE filed on 10/18/2018   Page(s): 1




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       MOTION FOR DISCOVERY AND INSPECTION filed on 10/18/2018      Page(s): 6

       RESPONSE TO MOTION FOR BILL OF PARTICULARS/DISCOVERY filed on 10/18/2018          Page(s): 2

       DISCOVERY filed on 10/29/2018   Page(s): 1

       DISCOVERY filed on 10/29/2018   Page(s): 1


                                            **** End of Case Number : 18-CR-00602 ****




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